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                                                      #:947

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               11      (See additional counsel listed below)

               12                          UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
               13
                       ABDIRAHMAN ADEN KARIYE,                     Case No. 2:22-cv-01916-FWS-GJS
               14      MOHAMAD MOUSLLI, and
                       HAMEEM SHAH,                                PLAINTIFFS’ APPLICATION RE
                                                                   SEALING PLAINTIFFS’ MOTION TO
               15                      Plaintiffs,                 COMPEL PRODUCTION OF
                                                                   DOCUMENTS
               16            v.
                                                                   Date:     TBD
                       KRISTI NOEM, Secretary of the U.S.          Time:     3:00pm
               17      Department of Homeland Security, in         Dept:     Ctrm 640
                       her official capacity, et al.,              Judge: Hon. Gail J. Standish
                                                                   Trial Date: November 3, 2026
               18                      Defendants.                 Date Action Filed: March 24, 2022

               19

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                   1         TO THE COURT AND THEIR ATTORNEYS OF RECORD:

                   2         PLEASE TAKE NOTICE that, pursuant to Local Rule 79-5.2.2 of the Local

                   3   Rules of the United States District Court for the Central District of California, and as

                   4   otherwise authorized by law, Plaintiffs Imam Abdirahman Aden Kariye, Mohamad

                   5   Mouslli, and Hameem Shah (“Plaintiffs”) file conditionally under seal portions of

                   6   their Motion to Compel the Production of Documents and accompanying exhibits

                   7   that contain information Defendants contend should be filed under seal. That

                   8   information includes (1) references to records produced from a particular government

                   9   database, and (2) officers’ names appearing in responses to one of Plaintiffs’

               10      interrogatories.1

               11            On April 25, 2025, the parties met and conferred to discuss documents and

               12      information Defendants had designated as Confidential under the Protective Order in

               13      this matter and in “an attempt to eliminate or minimize the need for filing under seal

               14      by means of redaction.” Local Rule 79-5.2.2(b). Plaintiffs contend, as addressed in

               15      the Memorandum of Point and Authorities below, that the Court should not permit

               16      Defendants to seal the categories of information Defendants have indicated should

               17      be filed under seal. If Defendants disagree, Local Rule 79-5.2.2(b)(i) permits them to

               18      file a declaration establishing that the material they have designated as confidential

               19
                       1
               20        This Application and Memorandum reflect Defendants’ position during the
                       parties’ meet and confer on April 25, 2025 and as memorialized by Defendants on
                       April 29. Decl. Ex. C at 3. On May 2, Defendants materially changed their position
               21      while Plaintiffs were finalizing two Applications to seal. Id. at 1–2. Defendants
                       subsequently agreed that the Applications could be filed as Plaintiffs had prepared
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                       them since April 29. Id. at 1.
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                   1   is sealable within four days from the filing of this Application.

                   2

                   3   Dated:       May 2, 2025                       COOLEY LLP
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                   4                                                  BRETT H. DE JARNETTE (292919)
                                                                      ALEXANDER BREHNAN (317776)
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                                                                      HAMEEM SHAH
               21

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                   1                   MEMORANDUM OF POINTS AND AUTHORITIES

                   2   I.    INTRODUCTION

                   3         In two forthcoming motions, Plaintiffs will move to compel the production of

                   4   documents and information that are indisputably relevant to Plaintiffs’ claims. This

                   5   sealing application accompanies one of those motions, the Motion to Compel the

                   6   Production of Documents (“Motion to Compel”), which seeks to compel documents

                   7   and information responsive to Plaintiffs’ discovery requests that Defendants have

                   8   failed to produce.

                   9         Plaintiffs oppose Defendants’ overbroad position that all references to two

               10      broad categories of information contained in Plaintiffs’ Motion to Compel and

               11      accompanying exhibits should be redacted. Defendants designated the material they

               12      propose be filed under seal as “Confidential” pursuant to the parties’ stipulated

               13      protective order (“Protective Order”). ECF No. 53. At an April 25, 2025 meet and

               14      confer, Defendants stated their intention to seek (1) the redaction of the portions of

               15      both motions to compel and accompanying exhibits that reference information in the

               16      records produced from the TECS database2 (“TECS Reports”) and (2) the redaction

               17      of officers’ names appearing in responses to one of Plaintiffs’ Interrogatories, which

               18      are attached to both motions to compel. Decl. ¶ 5. On April 29, 2025, Defendants

               19      confirmed that they would seek to seal the documents and redact the information

               20
                       2
               21        As further explained in Plaintiffs’ motions to compel, the TECS database is the
                       main DHS repository of documents recounting what occurred at “secondary
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                       inspections” at ports of entry.
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                   1   discussed during the April 25 meeting. Decl. ¶¶ 7–8. As a result, Plaintiffs will

                   2   conditionally file under seal portions of their Motion to Compel and portions of

                   3   Exhibits3 4–7, 9, 10, 12–14, 18, and 19 to their Motion that reference the information

                   4   Defendants contend should be sealed.

                   5         The Court should deny the application to seal the information Defendants seek

                   6   to be protected because they have not shown (and cannot show) a compelling reason

                   7   to warrant sealing.

                   8   II.   LEGAL STANDARD

                   9         “[C]ourts have recognized a ‘general right to inspect and copy public records

               10      and documents, including judicial records and documents.’” Kamakana v. City &

               11      Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner

               12      Commc’ns, Inc., 435 U.S. 589, 597 & n.7 (1978)). The party seeking to “limit this

               13      common law right of access” must show that “‘compelling reasons supported by

               14      specific factual findings . . . outweigh the general history of access and the public

               15      policies favoring disclosure.’” Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th

               16      Cir. 2010) (quoting Kamakana, 447 F.3d at 1178-79); M.A.C. v. City of Los Angeles,

               17      2018 WL 6174753, at *1 (C.D. Cal. Jan. 12, 2018) (“‘[T]he party seeking protection

               18      bears the burden of showing specific prejudice or harm will result’ and must make a

               19      ‘particularized showing . . . with respect to any individual document.’”) (quoting

               20
                       3
               21        “Ex.” refers to the exhibits attached to the declaration in Exhibit B of the
                       Declaration of Alexander K. Brehnan in support of the Motion to Compel at issue in
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                       this sealing application.
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                   1   Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1210–11 (9th

                   2   Cir. 2002)).

                   3         “The Ninth Circuit has clarified that the compelling reasons standard applies

                   4   to any sealing request made in connection with a motion that is ‘more than

                   5   tangentially related to the merits of a case,’ whether or not the motion is strictly

                   6   ‘dispositive.’” Louis v. Cnty. of Ventura, 2023 WL 5505997, at *1 (C.D. Cal. June 9,

                   7   2023) (Slaughter, J.) (quoting Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d

                   8   1092, 1098–99 (9th Cir. 2016)). That is because “[m]ost litigation in a case is not

                   9   literally ‘dispositive,’ but nevertheless involves important issues and information to

               10      which our case law demands the public should have access.” Ctr. for Auto Safety,

               11      809 F.3d at 1098–99. Other circuits have similarly rejected a “literal divide between

               12      dispositive and nondispositive motions” and apply the compelling reasons standard

               13      to anything “‘which the public has a right to know about and evaluate.’” Id. at 1100

               14      (quoting Leucadia, Inc. v. Applied Extrusion Tech., Inc., 998 F.2d 157, 164 (3d Cir.

               15      1993) (citing authority from the First, Second, Third, and Eleventh Circuits).

               16            Where a court finds that the sealed materials are “unrelated to the merits of a

               17      case,” a party still must satisfy the “good cause” standard. Ctr. for Auto Safety, 809

               18      F.3d at 1097. Under that standard, courts must determine “whether ‘good cause’

               19      ‘exists to protect th[e] information from being disclosed to the public by balancing

               20      the needs for discovery against the need for confidentiality.’” Pintos, 605 F.3d at 678

               21      (quoting Phillips, 307 F.3d at 1213).

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                   1   III.   ARGUMENT

                   2          A.    Defendants cannot show “compelling reasons” for sealing all
                                    references to the TECS Reports and the names of officers.
                   3
                              Defendants seek to seal all references to information contained in TECS
                   4
                       Reports (including officers’ names) (Exs. 5, 7, 9, 10, 12, 13, 14, 18, and 19) and the
                   5
                       officers’ names provided in responses to one of Plaintiffs’ interrogatories (Exs. 4 and
                   6
                       6). The TECS Reports, which are referenced in the Motion to Compel and its
                   7
                       accompanying exhibits, are “highly probative to the case” and, thus, Defendants must
                   8
                       show that there are “compelling reasons” for sealing references to them. Settrini v.
                   9
                       City of San Diego, 2022 WL 6785755, at *2 (S.D. Cal. Oct. 11, 2022) (citation
               10
                       omitted) (denying motion to seal because “the arrest at issue in this case is of
               11
                       significant interest to the public”); Cheatum v. City of San Diego, 2019 WL 3817954,
               12
                       at *2 (S.D. Cal. Aug. 14, 2019) (“[T]he Court is concerned that such records are of
               13
                       significance to the public, who has an interest in the activity of law enforcement and
               14
                       its use of force”); Louis, 2023 WL 5505997, at *2 (declining to seal records that
               15
                       identified officers and individuals involved in traffic stop).
               16
                              Indeed, public interest in the TECS Reports—and the information contained
               17
                       in them—is high because the TECS Reports are the only contemporaneous records
               18
                       that Defendants admit exist that document their perspective of the secondary
               19
                       inspections at issue in this case.4 Plaintiffs filed this lawsuit to challenge Defendants’
               20
                       4
               21       Plaintiffs have repeatedly requested that Defendants produce audiovisual recordings
                       and handwritten notes from the secondary inspections. Defendants have not
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                       confirmed whether these materials exist, let alone produced them.
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                   1   policy and/or practice of unconstitutional religious questioning at the border,

                   2   including during the ten secondary inspections at which Plaintiffs were subjected to

                   3   such questioning. See Am. Compl., ECF No. 61, ¶¶ 16–31, 56–80, 108–126, 146–

                   4   175. The TECS Reports reflect, among other things, the types of information border

                   5   officers and their supervisors considered and the actions they took during the

                   6   secondary inspections of U.S. citizens at the border. It is for this very reason that the

                   7   exhibits to the Motion to Compel reference information from the TECS Reports at

                   8   length. See Exs. 5, 7, 9, 10, 12, 13, 14, 18, and 19.

                   9         Further, there are no compelling reasons for sealing references to information

               10      in the TECS Reports or for redacting the names of officers. To justify sealing here,

               11      Plaintiffs anticipate that Defendants will rely on the same general reasoning they used

               12      to assert a law enforcement privilege when redacting the TECS Reports produced to

               13      Plaintiffs in discovery. See Privilege Log, Exhibit D to Declaration (claiming that

               14      disclosure “would reveal the nature, scope and focus of certain law-enforcement

               15      processes, techniques and methods. If disclosed, individuals may be able to discern

               16      the meaning of the codes or could infer particular law enforcement interest regarding

               17      subjects, which could be detrimental to how CBP conducts its law enforcement

               18      operations. . . .”).5 As courts often do, those “‘[b]road allegations of harm,

               19      unsubstantiated by specific examples or articulated reasoning’” should be rejected.

               20
                       5
                        Plaintiffs’ position, as outlined in their concurrently filed motion to compel, is that
               21      any legitimately confidential information can at least be provided to Plaintiffs
                       pursuant to the parties’ Protective Order, but, even so, there is no indication that the
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                       material at issue here should be shrouded from public view.
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                   1   Louis, 2023 WL 5505997, at *2 (citations omitted). Indeed, “generalized concerns”

                   2   that allowing documents to appear on the public record “will somehow allow

                   3   criminals to evade law enforcement and inflict harm on the public” fall far short from

                   4   meeting the compelling reasons standard. Motley v. City of Fresno, Cal., 2016 WL

                   5   1060144, at *2 (E.D. Cal. Mar. 17, 2016) (denying motion to seal documents that

                   6   defendants argued would “undermine law enforcement techniques”).

                   7         Moreover, there are also no compelling reasons to seal the officers’ names in

                   8   the interrogatory responses. See Exs. 4, 6. Basic identifying information, like names,

                   9   is generally not sealable because officers are unlikely to face ramifications due to the

               10      disclosure of just their names. Cf. Fed. R. Civ. P. 5.2 (not requiring the sealing of

               11      names); Local Rule 5.2-1 (same). Further, the officers choose to become public

               12      employees and, thus, receive fewer protections regarding their identity. Est. of Neil

               13      v. Cnty. of Colusa, 2020 WL 5535448, at *2 (E.D. Cal. Sept. 15, 2020) (“the

               14      California Supreme Court has held that public employees’ basic identifying

               15      information is generally not protected from disclosure”); Lissner v. U.S. Customs

               16      Serv., 241 F.3d 1220, 1223 (9th Cir. 2001) (noting that although “individuals do not

               17      waive all privacy interests in information relating to them simply by taking an oath

               18      of public office, [ ] by becoming public officials, their privacy interests are somewhat

               19      reduced”). The compelling reasons standard is not met for the officers’ names.

               20            Finally, as Defendants recognized in the stipulated Protective Order, they

               21      cannot hang their hat on their confidentiality designations. ECF No. 53 at 4

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                   1   (recognizing that the Protective Order “does not entitle [the parties] to file

                   2   confidential information under seal”); Louis, 2023 WL 5505997, at *2

                   3   (“Preliminarily, the court notes that a ‘party’s designation of a document as

                   4   ‘[c]onfidential’ does not, standing alone, demonstrate that the documents should be

                   5   shielded from public access’” (quoting Settrini, 2022 WL 6785755, at *2).

                   6         Because Defendants cannot meet the compelling reasons standard, the Court

                   7   should deny Defendants’ requests to redact the officers’ names from any document

                   8   and the information from the TECS Reports referenced in Plaintiffs’ Motion to

                   9   Compel and attached exhibits.

                10           B.        To the extent the Court applies the “good cause” standard to
                                       Defendants’ materials, Defendants still fall short.
                11
                             Even if the Court were to find that the “good cause” standard applies to
                12
                       Defendants’ sealing requests, Defendants still cannot carry their burden. “The ‘good
                13
                       cause’ language comes from Rule 26(c)(1), which governs the issuance of protective
                14
                       orders in the discovery process: ‘The court may, for good cause, issue an order to
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                       protect a party or person from annoyance, embarrassment, oppression, or undue
                16
                       burden or expense. . . .’” Ctr. for Auto Safety, 809 F.3d at 1097 (quoting Fed. R. Civ.
                17
                       P. 26(c)(1)).
                18
                             But under that standard, Defendants must still show that public access to the
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                       information contained in the TECS reports and the officers’ names will lead to some
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                       specific harm. Again, Plaintiffs anticipate that Defendants will point to the same
                21
                       reasons they have cited for asserting the law enforcement privilege. But that is simply
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                   1   not sufficient. See, supra, Section III.a; Kamakana, 447 F.3d at 1186 (affirming order

                   2   to unseal documents where defendants argued that “the deliberative process

                   3   privilege, the law enforcement privilege, the official information privilege, privacy

                   4   interests, and embarrassment” supported sealing). In other words, “conclusory

                   5   assertions” about privacy rights or risks to law enforcement do not satisfy the good

                   6   cause standard. Est. of Neil, 2020 WL 5535448, at *3 (“[A]lthough Defendants argue

                   7   public disclosure will hinder officers’ willingness to participate openly and

                   8   effectively in investigations, the threat of scrutiny likely motivates police officers to

                   9   conduct investigations that are ‘thorough, more accurate and better reasoned.’”

                10     (citation omitted)).

                11           Nor can Defendants demonstrate good cause for redacting officer names. The

                12     potential that disclosure of officer names could possibly hurt privacy rights or hinder

                13     law enforcement efforts is not a sufficient basis for redacting basic identifying

                14     information. Id. at *2 (“Defendants’ bald assertions fail to persuade the Court that

                15     public access to the names of County employees, medical personnel, or inmates poses

                16     a significant threat to third-party privacy rights.”); see also Kamakana, 447 F.3d at

                17     1179 (“The mere fact that the production of records may lead to a litigant’s

                18     embarrassment, incrimination, or exposure to further litigation will not, without

                19     more, compel the court to seal its records.”); Roberts v. Clark Cnty. Sch. Dist., 2016

                20     WL 1611587, at *2 (D. Nev. Apr. 21, 2016) (declining to seal officer names and

                21     distinguishing names from “sensitive personal information” like home addresses or

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                   1   social security numbers).

                   2         Thus, Defendants cannot show good cause to redact references to information

                   3   in the TECS Reports and the names of officers from any documents. The Court

                   4   should reject Defendants’ sealing requests.

                   5                                  RELIEF REQUESTED

                   6         For the foregoing reasons, the Court should deny Defendants’ requests to seal.

                   7   A proposed Order granting that relief is submitted herewith.

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                   1   Dated:   May 2, 2025                  COOLEY LLP
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                                                             MOHAMAD MOUSLLI, and
                                                             HAMEEM SHAH
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                                                          ID #:960

                   1                             CERTIFICATION OF COMPLIANCE

                   2               The Undersigned, counsel of record for Plaintiffs, certifies that this brief

                   3   contains 2,672 words, which complies with the word limit of L.R. 11-6.1.

                   4

                   5   Dated:            May 2, 2025                           /s/ Alexander K. Brehnan
                                                                                 Alexander K. Brehnan
                   6

                   7   318478464



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